                         IN THE UNITED STATES BANKRUPTCY COURT

                                 FOR THE DISTRICT OF DELAWARE

                                                               Chapter 11
In re:
                                                               Case No. 18-11625 (KJC)
TINTRI, INC.,1
                                                               Objection Deadline: October 17, 2018 at 4:00 p.m.
                                   Debtor.                     Hearing Date: October 24, 2018 at 3:00 p.m.



                THIRD OMNIBUS MOTION FOR THE ENTRY OF AN
             ORDER AUTHORIZING THE DEBTOR TO REJECT CERTAIN
         EXECUTORY CONTRACTS NUNC PRO TUNC TO THE REJECTION DATE

 IF YOU HAVE RECEIVED THIS MOTION AND ARE A COUNTERPARTY TO AN
   AGREEMENT WITH TINTRI, INC., PLEASE REVIEW THIS MOTION IN ITS
 ENTIRETY, INCLUDING EXHIBIT A ATTACHED HERETO, TO DETERMINE IF
THIS MOTION AFFECTS YOUR AGREEMENT AND YOUR RIGHTS THEREUNDER

                  The above-captioned debtor and debtor in possession (the “Debtor”) hereby files

this motion (the “Motion”) for the entry of an order substantially in the form attached hereto as

Exhibit B, authorizing the rejection of certain contracts (the “Rejected Contracts”) as set forth on

Exhibit A hereto, nunc pro tunc to the date of this Motion (the “Rejection Effective Date”). In

support of this Motion, the Debtor respectfully represents as follows:

                                               JURISDICTION

                  1.      The United States Bankruptcy Court for the District of Delaware (the

“Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012. This matter is a core proceeding within the meaning of 28

U.S.C. § 157(b)(2), and the Debtor confirms its consent pursuant to Rule 9013-1(f) of the Local

Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

1
    The last four digits of the Debtor’s federal taxpayer identification number are 6978. The Debtor’s service
    address is: 303 Ravendale Drive, Mountain View, CA 94043.


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District of Delaware (the “Local Rules”) to the entry of a final order by the Court in connection

with this Motion to the extent that it is later determined that the Court, absent consent of the

parties, cannot enter final orders or judgments in connection herewith consistent with Article III

of the United States Constitution.

                  2.   Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                  3.   The statutory basis for the relief sought herein are sections 365(a) of Title

11 of the United States Code (the “Bankruptcy Code”) and Rule 6006 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”).

                                        BACKGROUND

                  4.   On July 10, 2018 (the “Petition Date”), the Debtor commenced this case

by filing a voluntary petition for relief under chapter 11 of the Bankruptcy Code. The Debtor has

continued in the possession of its property and has continued to operate and manage its business

as a debtor in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No

trustee or examiner has been appointed in this chapter 11 case.

                  5.   On July 20, 2018, the United States Trustee appointed the following to the

Official Committee of Unsecured Creditors pursuant to section 1102(a)(1) of the Bankruptcy

Code: (a) Flextronics International USA, Inc., (b) Clari, Inc., and (c) NCR Corporation.

                  6.   The factual background regarding the Debtor, including its current and

historical business operations and the events precipitating the chapter 11 filing, is set forth in

detail in the Declaration of Robert J. Duffy in Support of First Day Pleadings [Docket No. 2]

and fully incorporated herein by reference.

                  7.   On August 29, 2018, the Court entered its Order (A) Authorizing the Sale

of Substantially All of the Debtor’s Assets Pursuant to Asset Purchase Agreement Free and



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Clear of Liens, Claims and Encumbrances, and Other Interets; (B) Approving the Assumption

and Assignment of Certain Executory Contracts and Unexpired Leases Related Thereto; and (C)

Granting Related Relief [Docket No. 221] (the “Sale Order”).

                  8.    On August 31, 2018, the sale contemplated by the Sale Order closed.

Subsequent to the closing of the sale, the Debtor has been actively reviewing and evaluating the

remaining executory contracts that were not assumed by the purchaser, including evaluating the

ongoing cost of continuing to perform under such contracts. In connection with this review, the

Debtor has determined to reject the Rejected Contracts because they will accrue administrative

expenses without any accompanying benefit to the Debtor’s estate and are no longer necessary to

the Debtor’s wind down operations.

                                     RELIEF REQUESTED

                  9.    The Debtor seeks the entry of an order, pursuant to section 365 of the

Bankruptcy Code and Bankruptcy Rule 6006, authorizing and approving the Debtor’s rejection

of the Rejected Contracts nunc pro tunc to the Rejection Effective Date. As set forth in detail

below, the relief requested herein is in the best interest of the Debtor’s estate and creditors

because the contracts are no longer necessary to the Debtor’s wind down operations and the

Debtor, in the exercise of its business judgment, does not believe that that the Rejected Contracts

have any net value to the Debtor’s estate.

                                      BASIS FOR RELIEF

                  10.   Section 365(a) of the Bankruptcy Code provides that a debtor, “subject to

the court’s approval, may assume or reject any executory contract or unexpired lease.” 11

U.S.C. § 365(a). Courts routinely approve motions to reject executory contracts and unexpired

leases upon a showing that the debtor’s decision to take such action will benefit the debtor’s



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estate and is an exercise of sound business judgment.            NLRB v. Bildisco & Bildisco,

465 U.S. 513, 523 (1984) (stating that the traditional standard applied by courts to authorize the

rejection of an executory contract is that of “business judgment”); see also In re Taylor, 913 F.2d

102 (3d. Cir. 1990); In re Buckhead America Corp., 180 B.R. 83 (Bankr. D. Del. 1995).

                  11.   Courts generally will not Third-guess a debtor’s business judgment

concerning the rejection of an executory contract or unexpired lease. See In re Armstrong World

Indus., 348 B.R. 136, 162 (Bankr. D. Del. 2006) (“Courts have uniformly deferred to the

business judgment of the debtor to determine whether the rejection of an executory contract of

unexpired lease by the debtor is appropriate under section 365(a) of the Bankruptcy Code.”); In

re Trans World Airlines, Inc., 261 B.R. 103, 121 (Bankr. D. Del. 2001) (“A debtor’s decision to

reject an executory contract must be summarily affirmed unless it is the product of bad faith, or

whim or caprice.” (internal quotations omitted)). The “business judgment” test is not a strict

standard and merely requires a showing that either assumption or rejection of the executory

contract or unexpired lease will benefit the debtor’s estate. N.L.R.B. v. Bildisco, 682 F.2d 72, 79

(3rd Cir. 1982) (noting that the “usual test for rejection of an executory contract is simply

whether rejection would benefit the estate”) aff’d, 465 U.S. 513 (1984). Further, “[s]ection 365

enables the trustee to maximize the value of the debtor’s estate by assuming executory contracts

and unexpired leases that benefit the estate and rejecting those that do not.” L.R.S.C. Co. v.

Rickel Home Centers, Inc. (In re Rickel Home Centers, Inc.), 209 F.3d 291, 298 (3d Cir. 2000);

see also Stewart Title Guar. Co. v. Old Republic Nat’l Title Ins. Co., 83 F.3d 735, 741 (5th

Cir. 1996) (section 365 of the Bankruptcy Code “allows a trustee to relieve the bankruptcy estate

of burdensome agreements which have not been completely performed”).




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                  12.   The Debtor has determined that the Rejected Contracts are no longer

necessary to the Debtor’s wind down operations and do not contain any potential value for the

Debtor’s creditors or other parties in interest. The Debtor has undertaken a review of its

contracts and has determined that (a) the Rejected Contracts are financially burdensome and no

longer necessary to the Debtor’s wind down operations, (b) the Rejected Contracts have no

marketable value that could be generated through assumption and assignment, and (c) the

Debtor’s continued performance under the Rejected Contracts would constitute an unnecessary

depletion of value of the Debtor’s estate. Accordingly, the Debtor has determined in the sound

exercise of its reasonable business judgment, that it is in the best interests of creditors that each

of the Rejected Contracts be rejected, effective as of the Rejection Effective Date.

                        NUNC PRO TUNC RELIEF IS APPROPRIATE

                  13.   Bankruptcy courts are empowered to grant retroactive rejection of a

contract or lease under sections 105(a) and 365(a) of the Bankruptcy Code. See Thinking Machs.

Corp. v. Mellon Fin. Servs. Corp. (In re Thinking Machines Corp.), 67 F.3d 1021, 1028-29 (1st

Cir. 1995) (indicating “rejection under section 365(a) does not take effect until judicial approval

is secured, but the approving court has the equitable power, in suitable cases, to order a rejection

to operate retroactively” to the motion filing date); see also Pacific Shores Dev., LLC v. At Home

Corp. (In re At Home Corp.), 392 F.3d 1064, 1067 (9th Cir. 2004) (same); In re Chi-Chi’s, Inc.,

305 B.R. 396, 399 (Bankr. D. Del. 2004) (“[T]he court’s power to grant retroactive relief is

derived from the bankruptcy court’s equitable powers so long as it promotes the purposes of

§ 365(a)”).

                  14.   Nunc pro tunc rejection of the Rejected Contracts will permit the Debtor

to reduce burdensome costs and avoid additional, unnecessary administrative charges for the



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contracts that are not necessary for the Debtor’s chapter 11 efforts. The counterparties to the

Rejected Contracts will not be unduly prejudiced if the Rejected Contracts are rejected nunc pro

tunc because the Debtor has ceased all use of agreements, personal property, equipment, or

services provided by the contracts and, if necessary, has made equipment or personal property

available for pickup to the contract counterparty. Furthermore, each counterparty has received or

will receive, through notice of this Motion, a statement of the Debtor’s clear intention to reject

the contracts. Thus, the equities in this case favor rejection of the Rejected Contracts nunc pro

tunc to the Rejection Effective Date.

                  15.   Similar relief has been granted in other cases in this jurisdiction. See, e.g.,

In re UCI International, LLC, No. 16-11354 (MFW) (Bankr. D. Del. Aug. 25, 2016 (authorizing

rejection nunc pro tunc to the date of filing the motion) In re Vestis Retail Grp., LLC, No. 16-

10971 (LSS) (Bankr. D. Del. May 16, 2016); In re City Sports, Inc., No. 15-12054 (KG) (Bankr.

D. Del. Oct. 30, 2015); In re Deb Stores Holdings, LLC, No. 14-12676 (KG) (Bankr. D. Del.

Jan. 7, 2015); In re Alsip Acquisition, LLC, No. 14-12596 (KJC) (Bankr. D. Del. Jan. 12, 2015)

(KJC). Thus, to eliminate potential administrative claims against its estate and to avoid further

obligations accruing under the Rejected Contracts, the Debtor respectfully submits that rejecting

the Rejected Contracts, effective retroactively, is appropriate.

                                        CLAIMS BAR DATE

                  16.   The counterparties may seek to assert a rejection damage claim under

section 502 of the Bankruptcy Code or other claims in connection with the Rejected Contracts

and must do so in accordance with any claim bar date set by the Court.

                  17.   The failure to file a timely claim by such bar date shall forever prohibit the

counterparty of the Rejected Contracts from receiving any distribution on account of such claims



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from the Debtor’s estate or otherwise. The Debtor will give notice of such bar date to the

counterparties.

                        COMPLIANCE WITH BANKRUPTCY RULE 6006(f)

                  18.   Bankruptcy Rule 6006(f) establishes requirements for a motion to reject

multiple executory contracts or unexpired leases that are not between the same parties. Rule

6006(f) states, in part, that such a motion shall: (a) state in a conspicuous place that parties

receiving the omnibus motion should locate their names and their contracts or leases listed in the

motion; (b) list parties alphabetically and identify the corresponding contract or lease; (c) specify

the terms, including the curing of defaults, for each requested assumption or assignment; (d)

specify the terms, including the identity of each assignee and the adequate assurance of future

performance by each assignee, for each requested assignment; (e) be numbered consecutively

with other omnibus motions to assume, assign, or reject executory contracts or unexpired leases;

and (f) be limited to no more than 100 executory contracts or unexpired leases.

                  19.   The Debtor respectfully submits that the relief requested in this Motion

complies with the requirements of Bankruptcy Rule 6006(f).

                                                  NOTICE

                  20.   Notice of this Motion shall be given to the following parties or, in lieu

thereof, to their counsel, if known: (a) the Office of the United States Trustee; (b) counsel for the

Debtor’s prepetition and postpetition lenders; (c) counsel to the Official Committee of Unsecured

Creditors; (d) the counterparties to the Rejected Contracts and their counsel if known; and (e)

parties requesting notice pursuant to Bankruptcy Rule 2002. The Debtor submits that, in light of

the nature of the relief requested, no other or further notice need be given.




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                                         NO PRIOR REQUEST

                  21.   No previous request for the relief sought herein has been made to this or

any other Court.

        WHEREFORE, the Debtor respectfully requests that the Court enter an order granting the

relief requested herein, substantially in the form attached hereto as Exhibit B.


Dated: September 30, 2018                 PACHULSKI STANG ZIEHL & JONES LLP


                                          /s/ Colin R. Robinson
                                          John D. Fiero (CA Bar No. 136557)
                                          John W. Lucas (CA Bar No. 271038)
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                                          Counsel for Debtor and Debtor in Possession




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                                  EXHIBIT A
                                     Rejected Contracts
                    Counterparty                     Contract Name / Description

   Atlas Private Security Inc                 Security at Corporate Offices 
   888 N. First Street , #222  
   San Jose , CA  95112 

   Atlassian Pty Ltd.                         EMG Change Management System 
   32151 Collections Center Drive 
   Chicago, IL 60693 

   CreativePlant Design Inc.                  Building Interior Décor 
   1670 Las Plumas Ave, Unit C  
   San Jose , CA  95133 

   Everbank Commerical Finance, Inc           Copiers & Printers in Corporate Offices 
   PO Box 911608   
   Denver, CO  80291‐1608 

   GymDoc, Inc                                Onsite Fitness Equipment 
   3488 Arden Road 
   Hayward , CA  94545 

   Hi5 Health Network                         Office Delivery of Fruits & Snacks 
   PO Box 2216  
   Morgan Hill , CA  95038 

   LCN Services, LLC                          Splunk Enterprise 
   2269 Chestnut Street, #318 
   San Francisco, CA 94123 

   Norcal Heating & Cooling Inc               HVAC Services for Corporate Office 
   P.O. Box 112431 
   Campbell , CA  95011 

   Peninsula Security Services                Office Security / Alarms 
   1755 E. Bayshore Road, STE 28B 
   Redwood City , CA 94063 

   Plants Inc                                 Office Interior Landscaping 
   2457 W. Montrose Ave  
   Chicago , IL  60618 



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                  Counterparty          Contract Name / Description

   Rackspace US, Inc.             Lab Schematics 
   1 Fanatical Place 
   Windcrest, TX 78218 

   TelePacific Communications     Telephone Line at Colocation 
   P.O. Box 509013  
   San Diego , CA  92150‐9013 

   UserVoice Inc.                 Call Forwarding 
   121 2nd Street, Floor 4 
   San Francisco, CA 94105 




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                  EXHIBIT B
                   Proposed Order




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                         IN THE UNITED STATES BANKRUPTCY COURT

                                 FOR THE DISTRICT OF DELAWARE

                                                               Chapter 11
In re:
                                                               Case No. 18-11625 (KJC)
TINTRI, INC.,1
                                                               Related Docket No. ___
                                   Debtor.


             ORDER AUTHORIZING THE DEBTOR TO REJECT CERTAIN
         EXECUTORY CONTRACTS NUNC PRO TUNC TO THE REJECTION DATE

                  Upon the Third Omnibus Motion for Entry of an Order Authorizing the Debtor to

Reject Certain Executory Contracts Nunc Pro Tunc to the Rejection Date (the ”Motion”);2 and it

appearing that the relief requested is in the best interests of the Debtor’s estate, its creditors and

other parties in interest; and it appearing that this Court has jurisdiction over this matter pursuant

to 28 U.S.C. §§ 157 and 1334; and it appearing that this matter is a core proceeding pursuant to

28 U.S.C. § 157(b)(2); and due and adequate notice of the Motion having been given under the

circumstances; and after due deliberation and sufficient cause appearing therefor;

                  IT IS HEREBY ORDERED THAT

                  1.      The Motion is granted as set forth herein.

                  2.      Pursuant to section 365(a) of the Bankruptcy Code and Bankruptcy Rule

6006, the Debtor is authorized to reject the Rejected Contracts set forth on Exhibit A annexed

hereto. The rejection is effective nunc pro tunc to September 30, 2018, the date the Motion was

filed.




1
    The last four digits of the Debtor’s federal taxpayer identification number are 6978. The Debtor’s service
    address is: 303 Ravendale Drive, Mountain View, CA 94043.
2
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.


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                  3.   Within two business days after entry of this Order, the Debtor will serve

this Order on the counterparties to the Rejected Contracts.

                  4.   The counterparty must file a claim under section 502 of the Bankruptcy

Code or other claims in connection with such Rejected Contract or the rejection, breach or

termination of such Rejected Contract in accordance with any claims bar date set by the Court,

and the failure to file a timely claim shall forever prohibit the counterparty of the applicable

Rejected Contracts from receiving any distribution on account of such claims from the Debtor’s

estate or otherwise.

                  5.   Notwithstanding the relief granted herein and any actions taken hereunder,

nothing in the Motion or this Order shall be deemed or construed to be: (i) an admission as to the

validity or priority of any claim against the Debtor; (ii) a waiver by the Debtor of any claims it

may have against any counterparties to any Rejected Contracts, whether or not such claims are

related to such Rejected Contracts; (iii) a waiver of the Debtor’s right to assert that any Rejected

Contracts terminated prior to the Petition Date or the Rejection Effective Date; or (iv) a waiver

of the Debtor’s right to assert that any of the Rejected Contracts do not constitute executory

contracts.

                  6.   Notwithstanding any provision in the Bankruptcy Rules to the contrary:

(i) this Order shall be effective immediately and enforceable upon its entry; (ii) the Debtor is not

subject to any stay in the implementation, enforcement or realization of the relief granted in this

Order; and (iii) the Debtor is authorized and empowered, and may in its discretion and without

further delay, take any action necessary or appropriate to implement this Order.

                  7.   The rejection of the Rejected Contracts authorized in this Order complies

with the requirements of Bankruptcy Rule 6006(f).




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                  8.   The Court shall retain jurisdiction over any and all matters arising from or

related to the implementation, interpretation, or enforcement of this Order.

Dated: ______________, 2018

                                             _____________________________________
                                             HONORABLE KEVIN J. CAREY
                                             UNITED STATES BANKRUPTCY JUDGE




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                  EXHIBIT A TO ORDER
                       Rejected Contracts




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